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APPENDIX
I. BRIEFING

Counsel for Plaintiffs and Defendants will file simultaneous briefs in support of their
positions on or before Friday, March 17, 2017. Parties should focus their arguments on the four
factors the Court will consider in determining whether a preliminary injunction is warranted: (l)
whether the movant has a strong likelihood of success on the merits; (2) whether the movant
would suffer irreparable injury absent the injunction; (3) whether issuance of the injunction
would cause substantial harm to others; and (4) whether the public interest would be served by
the issuance of the injunction. See Ne. Ohi'o Coal. for the Homeless v. Husted, 696 F.3d 580,
590-91 (6th Cir. 2012). The briefs shall comport with the length requirement set forth in the
Local Rules. Simultaneous Reply Briefs (if any) must be filed on or before Wednesday, March
22, 2017.

The Court will not continue the hearing date except upon written motion supported by an
affidavit demonstrating exceptional circumstances, made immediately upon the party’s or
counsel’s receipt of notice of the existence of the exceptional circumstances,

II. PROCEDURES
Counsel Tables

Plaintiffs will occupy counsel table next to the jury box. Defendants will occupy counsel

table across from PlaintiH`s.

Aggearances

Counsel will enter their appearance with the Court Reporter and the Courtroom Deputy

Clerk before the start of the opening session of the hearing.

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Addresses By Counsel

Counsel will address the Court in the following manner:

(a) All addresses to the Court will be made from the lectem facing the Court.
(b) Counsel shall stand when addressing the Court for any reason.

Objections

Counsel will stand when making an objection and will make the objection directly and
only to the Court.

When objecting, state only that you are objecting and the succinct legal basis for your
objection. Objections shall not be used for the purpose of making speeches, repeating testimony,
or to attempt to guide a witness.

Argument upon an objection will not be heard unless permission is given or argument is
requested by the Court. Either counsel may request a bench conference

Decorum

Colloquy, or argument between counsel will not be permitted. All remarks shall be
addressed to the Court.

Counsel shall maintain a professional and digniiied atmosphere throughout the hearing.

During the hearing, counsel shall not exhibit familiarity with witnesses or opposing
counsel and shall avoid the use of first names.

During opening statements and final arguments, all persons at counsel table shall remain
seated and be respectful so as not to divert the attention of the Court.

Do not ask the Court Reporter to mark testimony. All requests for re-reading of

questions or answers shall be addressed to the Court.

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Demonstrative Evidence

If any sketches, models, diagrams, or other demonstrative evidence of any kind will be
used during the proceeding, they must be exhibited to opposing counsel two days prior to the
hearing. Objections to the same must be submitted to the Court prior to the commencement of
the hearing. Demonstrative evidence prepared solely for the purpose of final argument shall be
displayed to opposing counsel at the earliest possible time but in no event later than one-half
hour before the commencement of the arguments,

Counsel must supply his/her own easel, tlip charts, etc. for the hearing.

M

Counsel will assemble and mark all exhibits and deliver them to the courtroom deputy
prior to the commencement of the hearing. Plaintifi’s exhibits will bear the letter prefix P
followed by Arabic numerals and Defendant’s exhibits will bear the prefix D followed by Arabic
numerals.

Counsel should keep a list of all exhibits and should supply the Court, courtroom deputy
and opposing counsel with a copy of the same.

Each counsel is responsible for any exhibits secured from the courtroom deputy. At the
end of each hearing session, all exhibits shall be returned to the courtroom deputy.

The parties shall use three-ring tabbed notebooks for their exhibits which will be
submitted two (2) days before the hearing. The parties shall provide one (1) copy of their tabbed
exhibit notebook(s) to opposing counsel, and three (3) copies to the Court-one each for the

Judge, the law clerk, and the courtroom deputy (for use at the witness stand).

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Exhibits which are produced for the first time during the hearing, as in the case of
exhibits used for impeachment, shall be tendered to the courtroom deputy for marking and then
displayed to opposing counsel.

Sanctions

The parties and counsel shall comply fully and literally with this pre-hearing order.
The Court will consider the imposition of appropriate sanctions in the event of non-compliance,
including monetary sanctions, the dismissal of claims or defenses, or the exclusion of evidence.
Fed. R. Civ. P. l6(t).

This order supersedes all previous orders in this case to the extent previous orders are
inconsistent with this order.

The parties shall address questions about this order to the Court’s Law Clerk, Jocelyn
Harrington, at 614-719-3263, by way of a telephone conference with counsel for all parties
participating, or with fewer than all counsel participating with express permission of non-

participating counsel.

